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                     UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

 In Re: Don Karl Juravin

 DON KARL JURAVIN,

                    Appellant,

 v.                                                      Case No: 5:23-cv-164-GAP

 DENNIS D. KENNEDY,

                    Appellee.



                       MEMORANDUM OPINION AND ORDER
       This matter comes before the Court without oral argument on appeal from

 the United States Bankruptcy Court for the Middle District of Florida. Appellant

 Don Karl Juravin (the “Debtor”) appeals the Bankruptcy Court’s Order granting in

 part and denying in part his pro se Motion to Unseal Documents, for Contempt, to

 Compel, and for Removal of the Chapter 7 Trustee (“Motion”). With the parties’

 briefing complete (Docs. 12 & 15), the matter is ripe for disposition.

       I.     Background

         This appeal arises from the execution of a “break order” in connection

  with the Debtor’s Chapter 7 bankruptcy proceedings. Following difficulties

  obtaining discovery from the Debtor, the Appellee and Chapter 7 Trustee,
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  Dennis D. Kennedy (the “Trustee”), filed an ex parte motion for a break order to

  search the Debtor’s home for documents, electronic data, and certain assets that

  may be part of the bankruptcy estate. The Bankruptcy Court granted that

  motion, and on May 5, 2021, the Trustee executed the Break Order in the

  presence of the Debtor’s wife, Anna Juravin (“Mrs. Juravin”). See In re Juravin,

  No. 6:21-cv-1922-GAP, 2022 WL 846074, at *1 (M.D. Fla. Mar. 22, 2022). The

  Trustee filed an inventory with the Bankruptcy Court listing all the items

  obtained during the execution of the Break Order. Id.

         Five months later, the Debtor and Mrs. Juravin, through their counsel, filed

  a motion seeking the removal of the Trustee, the disqualification of his counsel,

  and a protective order relating to evidence obtained during the execution of the

  Break Order. Id. On October 18, 2021, the Debtor and Mrs. Juravin filed an

  amended motion seeking the same relief. Id. On November 9, 2021, the

  Bankruptcy Court held a hearing where it heard argument and denied the motion.

  See In re Juravin, 6:18-bk-6821-LVV, Doc. 669-1 at 37 (Br. M.D. Fla. Dec. 29, 2021).

  Mrs. Juravin appealed the Bankruptcy Court’s denial of the motion, and, on March

  22, 2022, this Court affirmed the Bankruptcy Court. See In re Juravin, 2022 WL

  846074, at *1.

         Nearly a year later, the Debtor—now proceeding pro se—filed the instant

  Motion. See Doc. 12 at 16-24 (Motion filed on January 9, 2023). The Debtor asked



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  the Bankruptcy Court to unseal the motion for a break order or provide copies to

  the Debtor, to require the Trustee to file a report detailing the assets he uncovered

  in executing the Break Order, and to remove the Trustee from the case and

  disqualify the Trustee’s counsel. Id. On February 1, 2023, the Bankruptcy Court

  granted the Debtor’s Motion in part, directing the clerk to unseal certain filings and

  any hearing record related to the Break Order. Id. at 40-41. The Bankruptcy Court

  denied the Debtor’s Motion in all other respects, and it directed the Debtor to cease

  requesting removal of the Trustee or the Trustee’s counsel, warning him that it

  may impose sanctions against him if he fails to comply. Id. The Debtor now appeals

  the Bankruptcy Court’s ruling.

       II.    Legal Standard

          Bankruptcy court orders removing or denying the removal of the trustee

  are final, appealable orders. See In re Walker, 515 F.3d 1204, 1210–11 (11th Cir. 2008)

  (“[T]he removal of a bankruptcy trustee is a ‘final’ order appealable to this

  Court.”); see also In re Steffen, No. 8:09-cv-353-JDW, 2011 WL 13174777, at *2 (M.D.

  Fla. Oct. 12, 2011) (concluding that the Eleventh Circuit’s reasoning with respect to

  orders removing the trustee “applies with equal force to orders denying the

  removal of a trustee”). Therefore, district courts have jurisdiction to hear appeals

  of such orders. See 28 U.S.C. § 158(a)(1).

         A bankruptcy court’s denial of a motion to remove a trustee is reviewed for



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  abuse of discretion. See In re Steffen, 2011 WL 13174777, at *3 (citing In re AFI

  Holding, Inc., 530 F.3d 832, 844 (9th Cir. 2008)). And a bankruptcy court’s ruling on

  employment of counsel is also reviewed for abuse of discretion, as is a bankruptcy

  court’s ruling with respect to sanctions. See In re Cecil, 8:12-cv-958-T-27, 2012 WL

  3231321, at *2 (M.D. Fla. Aug. 3, 2012) (collecting cases); In re Adell, 296 F. App’x

  837, 839 (11th Cir. 2008).1

            A court “abuses its discretion if it applies an incorrect legal standard, applies

  the law in an unreasonable or incorrect manner, follows improper procedures in

  making a determination, or makes findings of fact that are clearly erroneous.”

  Torres v. First Transit, Inc., 979 F.3d 876, 881 (11th Cir. 2020) (quoting Brown v. Ala.

  Dep’t of Transp., 597 F.3d 1160, 1173 (11th Cir. 2010)) (internal quotation marks

  omitted). “A ‘clear error in judgment’ is also an abuse of discretion.” Id. (quoting

  United States v. Brown, 415 F.3d 1257, 1266 (11th Cir. 2005)).

        III.     Analysis

        In yet another frivolous appeal, the Debtor requests relief that both the

 Bankruptcy Court and this Court have already determined is unwarranted. See In re

 Juravin, 2022 WL 846074. As an initial matter, the Debtor’s underlying Motion

 includes no more than cursory references to the issue that he focuses on in his



        1 In the Eleventh Circuit, “[u]npublished opinions are not considered binding precedent,
 but they may be cited as persuasive authority.” 11th Cir. R. 36–2.




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 appeal. In his briefing on appeal, the Debtor focuses on the Bankruptcy Court’s

 alleged refusal to sanction the Chapter 7 Trustee and his attorneys for failing to serve

 the Debtor with a copy of both the Trustee’s Renewed and Supplemental Motion for

 issuing a “Break Order” and the resulting Break Order. See Doc. 12 at 16-24.

 However, the Debtor’s underlying Motion focused on two different requests:

 (1) that the Court unseal the Trustee’s Renewed and Supplemental Motion for

 issuing a “Break Order”—a request which the Court granted—and (2) that the Court

 remove the Trustee and his counsel. See id.; see also Doc. 1-1 at 5-6.

        The Debtor’s shift in focus on appeal seemingly relates to the Bankruptcy

 Court’s direction that the Debtor “cease requesting removal of the Trustee or

 Trustee’s counsel” and statement that, if he failed to comply, the Bankruptcy Court

 “may impose sanctions against the Debtor, including but not limited to, attorney’s

 fees and costs.” Id. at 6; see also Doc. 12 at 11. The Debtor also takes issue with this

 warning in his briefing; specifically, he asserts that the “Bankruptcy Court not only

 failed to impose a warranted sanction against a party, it then found a way to threaten

 the party seeking relief.” Doc. 12 at 5, 10.

        The Debtor’s appeal is meritless. Assuming the Debtor preserved the

 arguments he raises on appeal,2 the Bankruptcy Court did not abuse its discretion




        2“[I]f the record reflects an issue was presented in a cursory manner and never properly
 presented to the Bankruptcy Court, the issue is not preserved for appeal.” In re Monetary Grp., 91


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 when it chose not to impose sanctions against the Trustee or his counsel and instead

 reprimanded the Debtor for again seeking their removal. As even the Debtor

 recognizes, the Bankruptcy Court has significant discretion in determining whether

 (or not) to impose sanctions. See Doc. 12 at 12; In re Adell, 296 F. App’x at 839–40.

        “The bankruptcy court’s power to sanction ‘must be exercised with restraint

 and discretion.’” In re Adell, 296 F. App’x at 839 (quoting Chambers v. NASCO, Inc.,

 501 U.S. 32, 55 (1991)). Here, the Bankruptcy Court appropriately exercised restraint

 and discretion when it declined to sanction the Trustee and his counsel and

 reprimanded the Debtor. This is particularly true considering (1) that the

 Bankruptcy Court unsealed the Trustee’s Renewed and Supplemental Motion for

 issuing a “Break Order,” as well as the record of any hearing related to it, at the

 Debtor’s request, 3 and (2) that the Bankruptcy Court and this Court have

 previously denied the Debtor’s request for the removal of the Trustee and his

 counsel. Given the circumstances, the Bankruptcy Court clearly did not abuse its

 discretion.4


 B.R. 138, 140 (M.D. Fla. 1988) (citing In re Espino, 806 F.2d 1001, 1002 (11th Cir. 1986)).

        3 It is worth noting that the Bankruptcy Court’s granting of this request was magnanimous,
 especially considering the Trustee’s evidence, which appears to demonstrate that counsel for the
 Trustee emailed copies of the Trustee’s Renewed and Supplemental Motion for issuing a Break
 Order and the resulting Break Order to the Debtor’s prior counsel the day after the Break Order
 was executed. See Doc. 10-19 at 8-10 (Email from Lauren Schindler to Aldo Bartolone dated May 6,
 2021) and Doc. 10-11 (Trustee’s Notice of Compliance with Break Order [502], dated May 17, 2021).

        4 The Debtor’s instant appeal constitutes another “abusive and frivolous filing” stemming
 from his underlying bankruptcy proceeding in 6:18-bk-06821-LVV. See In re: Vexatious Litigants in


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         IV.   Conclusion

         Accordingly, it is hereby ORDERED and ADJUDGED that the Bankruptcy

 Court’s Order is AFFIRMED. The Clerk is hereby ORDERED to enter judgment

 for the Trustee.

         Additionally, the Debtor is ORDERED to show cause as to why sanctions

 should not be imposed pursuant to Federal Rule of Bankruptcy Procedure 8020

 due to his filing of this frivolous appeal. The Debtor shall file a written response

 within fourteen days of the date of this order.

         DONE and ORDERED in Chambers, Orlando, Florida on September 19,

 2023.




 Copies furnished to:

 Counsel of Record
 Unrepresented Party




 the Orlando Division, 6:23-mc-03-RBD, at 1. The Debtor is reminded that this Court “has a
 responsibility to prevent single litigants from unnecessarily encroaching on the judicial machinery
 needed by others,” id. (quoting Procup v. Strickland, 792 F.2d 1069, 1074 (11th Cir. 1986)), and is
 “authorized to restrict access to vexatious and abusive litigants.” Id. (quoting Brewer v. United
 States, 614 F. App’x 426, 427 (11th Cir. 2015)).




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